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IN THE UNITED STATES DISTRICT CoURT 'F'U='D B‘f j§n.ci
FoR THE wEsTERN DIS'rRIcT 0F TENNESSEE
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EDMoND LINDSEY, ) “‘ ‘ ‘ '“'~-‘*- '
)
Plaintift`, )
)
v. ) No. 04-2220 D
)
MEMPHIs-sHELBY CoUNTY )
AIRPoRT AUTHORITY, )
)
)
Defendant. )

 

ORDER GRANTING DEFENDANT’S MO'I`ION FOR
SUMMARY JUDGMENT AND DENYING PLAINTIFF’S
MOTION FOR SUN[MARY JUDGMENT

 

Before the Court are the motion of the Memphis-Shelby County Airport Authority (“Airport
Authority” or “Defendant”) for summary judgment and the motion of Edmond Lindsey (“Mr.
Lindsey” or “Plaintiff”) for summary judgment For the following reasons, the Court GRANTS
Defendant’s motion for summary judgment and DENIES Plaintiff’s motion for summary judgment
I. BACKGROUND

This case is the remainder of a lengthy class action against the Airport Authority regarding
its voluntary property acquisition program and the class members’ alleged injuries from an excess
of aircraft noise and pollution. w Alvarado v. Memnhis-Shelbv Countv Airport Auth.. No. 89-
3001 (W.D. Tenn.). Plaintiff, a member of the class in Alvarado, also asserted non-class claims,
Which the district court severed for purposes of discovery and trial. The A]varado class reached a

settlement with the Airport Authority as to the class claims. The district court approved the

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settlement on December 22, 1998, and the Sixth Circuit affirmed on August 15, 2000, over Mr.
Lindsey’s objectionsl

On April 5 , 2004, Judge Horton closed Alvarado and directed the Clerk of Court to open a
new case, No. 04-2220, to deal with Plaintift` s non-class claims. This case is limited to Plaintiff’ s
claim that Defendant did not fairly administer his application when he sought to participate in
Defendant’s voluntary property acquisition program. This claim proceeds under the Administrative
Procedure Act (“APA”), 5 U.S.C. §§ 701 et_sg:

Plaintif`f filed three suits against the Airport Authority in addition to the class action. He
brought the first in 1989, alleging inverse condemnation and constitutional due process claims. The
federal court dismissed the action, finding the claims barred by the statute of limitations Plaintiff
brought his second suit in state court, and the court dismissed that case as resjudicata. The third
suit, also filed in state court, was stayed pending resolution of the Alvarado class action. w
Alvarado v. Memohis-Shelbv Countv Airoort Auth.. No. 99-5159, 2000 WL 1182446, at **l (6th
Cir. Aug. 15, 2000) (explaining history of Mr. Lindsey’s litigation).

II. LEGAL STANDARD

Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and
admissions on file, together With the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56(0). ln other words, summary judgment is appropriately granted “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on Which that party will bear the burden of proof at trial.” Q§wtimv._€`at_@, 477 U.S. 317,

322 (1936).

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The party moving for summary j udgment may satisfyits initial burden of provin g the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. ILL at 325 . This may be accomplished by submitting affirmative evidence
negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.

Wright et al., Federal Practice and Procedure § 2727, at 35 (2d ed. 1998).

 

Facts must be presented to the court for evaluation Kalamazoo River Studv Groun v.

Rockwell lnt’l Com., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that

would be admissible or usable at trial. 10a Charles A. Wright et al., Federal Practice and Procedure

 

§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for
summary judgment, Jacklvn v. Schering-Plough Healthcare Prods. Sales Coro., 176 F.3d 921, 927
(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be

in a form that would be admissible at trial. Celotex, 477 U.S. at 324; Thaddeus-X v. Blatter, 175

 

 

F.3d 378, 400 (6th Cir. 1999).

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Co;p.,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd.. 259 F.3d 452, 460 (6th Cir. 2001).
Justifiable inferences based on facts are also to be drawn in favor of the non-movant. Kalamazoo
Me;, 171 F.3d at 1068.

Once a properly supported motion for summary judgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific

facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial

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exists if the evidence Would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Liber_ty Lobby, Inc., 477 U.S. 242, 248 (1986). To avoid summary judgment, the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
material facts.” Matsushita, 475 U.S. at 586.
III. ANALYSIS

A. Defendant’s Summa;y Judg;ment Motion

Plaintiff’s remaining claim relates to the Airport Authority’s administration of its property
acquisition program. An airport operator that elects to have a property acquisition program as part
of its noise abatement program must comply with the provisions of the Uniforrn Relocation
Assistance and Real Property Acquisition Policies Act of 1970 (“URA”), 42 U.S.C. §§ 4601, gsgq_.;
49 C.F.R. Part 24. Courts review alleged violations of the URA under the narrow standard of
judicial review set forth in the APA. w Ackerlev Communications of F la.. Inc. v. Henderson. 881
F.2d 990, 993 (1lth Cir. 1989) (finding that the APA is the exclusive remedy for alleged violations
of the URA). The court may set aside the agency’s findings, conclusions, or actions only if they are
“‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the law. ”’ @ge;
Co. v. Reg’l Aimort Auth., 286 F.3d 382, 386-87 (6th Cir. 2002) (quoting 5 U.S.C. § 706(2)(A)).
This is the “least demanding review of an administrative action” and, with any evidence to Support
Defendant’s actions, there can be no determination that the decision was arbitrary or capricious g
at 389.

Plaintiff alleges that Defendant did not negotiate fairly with him and, thus, his rights were
violated. When Plaintiff received Defendant’s offer, he found it unacceptable Subsequently,

Plaintiff hired an independent appraiser and was dissatisfied with that appraisal as well. Eventually,

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Plaintiff was able to produce an appraisal that rnet his approval. However, that appraisal did not
follow standard, acceptable appraisal methodology, primarily because it did not take into account
depreciationl

Defendant contends that it was not unfair in its negotiations with Plaintiff. Once Defendant
determined that Mr. Lindsey was eligible for the voluntary acquisition program, it followed the
Uniform Appraisals Standards for Federal Land Acquisition pursuant to the Uniform Relocation
Assistance and Real Property Acquisition for Federal and Federally-assisted Programs, 49 C.F.R.
§ 24.103. Furthermore, under this administrative process, Plaintiff was provided several layers of
appeal. As a result, Plaintiff‘s concerns were addressed through adjudication by this Court and
affirmation by the Sixth Circuit Court of Appeals.

Because the Court found that Defendant followed appropriate procedures and used accepted
appraisal practices, the Court again finds that Defendant did not act arbitrarily or capriciously in its
dealings with Plaintiff. Accordingly, the Court finds that there are no genuine issues of material
fact remaining, and summary judgment is appropriate

B. Plaintiff’ s Motion for Summa_ry Judgr_nent

On June 22, 2005, Plaintiff filed a motion for summary judgment, However, there was no
memorandum filed in support of his motion. lnstead, Plaintiff re-filed his memorandum in
opposition to Defendant’s motion for summary judgment As the Court has now granted
Defendant’s motion for summary judgment, Plaintiff’ s motion for summary judgment is denied as

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IV. CONCLUSION

For the foregoing reasons, Defendant’s motion for summary judgment is GRANTED and

Plaintiff"s motion for summary judgment is DENIED.

IT rs so ounERED this gZ/‘{'Eiay ofAugust, 2005.

 

UN TED TATES DISTRICT COURT

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This notice confirms a copy of the document docketed as number 41 in
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Honorable Bernice Donald
US DISTRICT COURT

